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 16
 17                             UNITED STATES DISTRICT COURT

 18         CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

 19
 20 WILLIAM J. RICHARDS,                          CASE NO. 17-cv-00497-SJO-SP
                                                  [Honorable S. James Otero]
 21                 Plaintiff,
 22          v.                                   THIRD AMENDED COMPLAINT
                                                  FOR DAMAGES
 23 COUNTY OF SAN BERNARDINO,
 24 MARK NOURSE, NORMAN                           (1) Violation of Civil Rights –
    PARENT, TOM BRADFORD, JOHN                        Individual Defendants (42 U.S.C. §
 25 NAVARRO, DANIEL GREGONIS,                         1983)
 26 NORMAN SPERBER, and DOES 1                    (2) Monell Claim for Violation of Civil
    through 10, inclusive,                            Rights (42 U.S.C. § 1983)
 27
 28              Defendants.                      [DEMAND FOR JURY TRIAL]

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  1 I.       INTRODUCTION
  2          1.     This civil rights action pursuant to 42 U.S.C. § 1983 seeks
  3 compensatory and punitive damages from Defendants for causing Plaintiff to be
  4 deprived of rights, privileges, and immunities secured by the Constitution and laws
  5 of the United States.
  6          2.     On August 10, 1993, Mr. Richards returned home from work to
  7 discover that his wife had been brutally murdered. He called 911 to report it and
  8 waited for the police to arrive. When the police did arrive, they immediately treated
  9 Mr. Richards as a suspect. Evidently caring more about charging someone rather
 10 than finding the true perpetrator, the police focused their investigation exclusively
 11 on Mr. Richards, despite the absence of evidence of guilt and the existence of strong
 12 alibi evidence. After two full trials resulting in hung juries and a mistrial during jury
 13 selection, Mr. Richards was retried for a fourth time, resulting in his wrongful
 14 conviction and a sentence of twenty-five (25) years to life.
 15          3.     Mr. Richards’ wrongful conviction was the result of intentional and/or
 16 deliberately indifferent misconduct by all of the named Defendants who conducted a
 17 recklessly deficient investigation of the murder, fabricated forensic evidence, wrote
 18 false police reports, suppressed exculpatory evidence, and destroyed exculpatory
 19 and potentially exculpatory evidence. Plainly speaking, the misconduct of
 20 Defendants led to an innocent man being convicted of murdering his wife. There can
 21 be no worse conduct of a police agency and its officers when it engages in such
 22 misconduct leading to an innocent man not only being wrongfully imprisoned but
 23 stigmatized with the false and defamatory label that he killed his wife.
 24          4.     Plaintiff William J. Richards spent over twenty-two years in jails and
 25 prisons for the murder of his wife; a crime he did not commit. He has always
 26 maintained his innocence and worked tirelessly to prove that he had nothing to do
 27 with the murder. Ultimately, with the assistance of the California Innocence Project,
 28 Mr. Richards vacated his conviction and secured his freedom.

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  1 II.      JURISDICTION AND VENUE
  2          5.     The Court has jurisdiction over the federal civil rights claims alleged
  3 herein pursuant to 28 U.S.C. §§ 1331 (federal question) and 28 U.S.C. § 1343 (civil
  4 rights).
  5          6.     Pursuant to 28 U.S.C. § 1391, venue lies in the Central District of
  6 California because all incidents, events, and occurrences giving rise to this action
  7 occurred in the County of San Bernardino, California.
  8 III.     PARTIES
  9          7.     Plaintiff William J. Richards (“Plaintiff”) is an adult competent to bring
 10 this suit in this Court. Prior to his arrest, and at the time of the events described
 11 herein, he was a resident of the County of San Bernardino. Following his wrongful
 12 arrest, Plaintiff was detained and ultimately incarcerated. During such times, he was
 13 in the custody of the San Bernardino Sheriff’s Department and the California
 14 Department of Corrections and Rehabilitation.
 15          8.     Defendant COUNTY OF SAN BERNARDINO (“COUNTY”) is, and
 16 at all times relevant hereto was, a duly authorized public entity or political
 17 subdivision, organized and existing under the laws of the State of California. The
 18 San Bernardino Sheriff’s Department (hereinafter “SBSD”) is, and at all relevant
 19 times was, an agency and subdivision of Defendant COUNTY. The COUNTY and
 20 SBSD are located within the State of California. At all relevant times, Defendant
 21 COUNTY and SBSD possessed the power and authority to adopt policies and
 22 prescribe rules, regulations and practices affecting the operation of the SBSD and
 23 the actions of employees of the SBSD, including customs, policies and/or practices
 24 relating to police tactics, methods, investigations, arrests, evidence, and discovery;
 25 as well as to personnel supervision, performance evaluation, internal investigations,
 26 discipline, records maintenance, and/or retention. Defendant COUNTY is sued as a
 27 local government entity under 42 U.S.C. § 1983 because its customs, policies and/or
 28 practices with regard to the operation of the SBSD were a moving force behind the

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  1 constitutional violations claimed by Plaintiff herein.
  2          9.     Upon information and belief, at all relevant times, Defendants MARK
  3 NOURSE, NORMAN PARENT, TOM BRADFORD, JOHN NAVARRO,
  4 DANIEL GREGONIS, NORMAN SPERBER, and DOES 1 through 10 were police
  5 officers, detectives, sergeants, captains, commanders, chiefs of police, civilian
  6 employees, agents, policy makers, and/or representatives of the SBSD, as well as
  7 employees, agents, policy makers and representatives of Defendant COUNTY. At
  8 all relevant times, said Defendants were acting under color of law and within the
  9 course and scope of their employment with the COUNTY and/or the SBSD. These
 10 Defendants are natural persons and are sued both individually and in their official
 11 capacity. Upon information and belief, at all relevant times these Defendants were
 12 residents of the State of California.
 13          10.    Defendant SPERBER was retained by the COUNTY to provide
 14 forensic examination, analysis, and testimony with respect to alleged bite mark
 15 evidence. At all times material herein, he was an agent of the COUNTY and was
 16 acting under the color of law within the course and scope of his agency and
 17 employment relationship with the COUNTY.
 18          11.    At present time, the true names and capacities of Defendants sued
 19 herein as DOES 1 through 10 are unknown to Plaintiff. Upon information and
 20 belief, the true names and capacities of DOE Defendants are contained in records,
 21 documents, and other discovery that is unavailable to Plaintiff and can only be
 22 ascertained through the discovery process. Upon information and belief, each of the
 23 DOE Defendants was in some manner responsible for the acts and omissions alleged
 24 herein, and Plaintiff will ask leave of this Court to amend the Complaint to allege
 25 such names and responsibility when that information is ascertained.
 26 IV.      GENERAL ALLEGATIONS
 27          12.    At all relevant times, each and every Defendant was the agent and/or
 28 employee and/or co-conspirator of each and every other Defendant, and was acting

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  1 within the scope of such agency, employment and/or conspiracy and/or with the
  2 permission, consent, and/or direction and/or adoption of the other co-Defendants.
  3          13.    Each of the Defendants caused and is responsible for the unlawful
  4 conduct and resulting injury herein alleged by, inter alia, personally participating in
  5 the conduct, or acting jointly and in concert with others who did so by authorizing,
  6 acquiescing in or failing to take action to prevent the unlawful conduct by
  7 intervention, or promulgating policies and procedures or practices pursuant to which
  8 the unlawful conduct occurred; by failing and refusing to initiate and maintain
  9 adequate training, supervision, policies, procedures and protocols; by failing to
 10 implement and ensure compliance with policies and procedures to ensure the safety
 11 and reasonable security of individuals, such as Plaintiff; and by ratifying the
 12 unlawful conduct performed by agents, employees, counselors, staff, and officers
 13 under their direction and control.
 14          14.    Whenever and wherever reference is made in this Complaint to any act
 15 by a Defendant, such allegation and reference will also be deemed to mean the acts
 16 and failures to act of each Defendant individually, jointly, and/or severally.
 17          15.    The acts and/or omissions of all Defendants, named and un-named
 18 were engaged in maliciously, callously, oppressively, wantonly, recklessly, and with
 19 deliberate indifference to or reckless disregard for Plaintiff’s rights and the truth.
 20          16.    Each and every paragraph of this complaint is expressly incorporated
 21 into each cause of action alleged herein as if fully stated therein.
 22 V.       FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
 23          17.    Plaintiff married Pamela Richards on November 13, 1971. In August
 24 1993, after more than twenty years of marriage, the couple lived together in
 25 Hesperia, California, on property that they owned in a remote area of San
 26 Bernardino County. With plans of building a house, they were living out of a
 27 motorhome and storage building on the property, which were powered by a
 28 generator. Plaintiff was employed as a mechanical engineer at the Schuller

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  1 Manufacturing Company in Corona, California. Mrs. Richards was working as a
  2 server at an Olive Garden.
  3          18.    On August 10, 1993, Plaintiff left for work at approximately 2:00 p.m.
  4 and worked the 3:00 p.m. to 11:00 p.m. shift. He clocked out at 11:03 p.m., filled his
  5 ice chest with ice from Schuller’s ice making machine, and drove home, arriving
  6 home shortly before midnight. When Plaintiff arrived home shortly before midnight,
  7 there were no lights on in the motorhome or elsewhere on the property. Plaintiff
  8 went to the storage shed and got himself a glass of iced tea.
  9          19.    As he was walking towards the motorhome, by the light of the moon,
 10 Plaintiff saw his wife lying on the ground near the porch. Plaintiff turned her over to
 11 see what was wrong and his fingers went into a hole in her head. Her body was cold.
 12 It was immediately obvious that she was dead and had been dead for some time.
 13 Plaintiff cradled his wife in disbelief and horror. While holding her, he heard the
 14 phone ring. The caller was Eugene Price, who was in a romantic relationship with
 15 Mrs. Richards that was known to Plaintiff. Plaintiff told Mr. Price that Mrs.
 16 Richards was dead, and Mr. Price told Plaintiff to call 911. At 11:58 p.m., after
 17 hanging up with Mr. Price, Plaintiff called 911 and reported the murder.
 18          20.    Mrs. Richards was attacked, severely beaten, and strangled. Her skull
 19 was crushed with a cinder block and paving stone. Blood, Mrs. Richards’s clothing,
 20 and Mrs. Richards’s broken fingernails were found in multiple locations around the
 21 property, and defensive wounds were found on Mrs. Richards’s body, all suggesting
 22 that Mrs. Richards struggled with her attacker and was killed during the struggle.
 23 When Plaintiff found her, she was naked from the waist down, and Plaintiff covered
 24 her with a sleeping bag. Mr. Richards had no wounds consistent with a purported
 25 struggle with his wife.
 26          21.    Mrs. Richards was home after Plaintiff left for work at approximately
 27 2:00 p.m. Telephone records and witnesses reflect that she made several phone calls
 28 that afternoon. Mrs. Richards called several numbers trying to reach Eugene Price

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  1 between 3:00 and 3:15 p.m. She called her employer, Olive Garden, at
  2 approximately 3:30 or 4:00 p.m. about possibly working that afternoon and evening.
  3 She called the bank at around 4:00 p.m. At approximately 6:22 p.m., she called
  4 Plaintiff’s mother’s residence and spoke with Cathy Shaw for approximately forty
  5 minutes. Finally, at approximately 7:04 p.m., Mrs. Richards called her brother and
  6 spoke with him briefly. In that call, she told her brother that she was about to
  7 vacuum the house and go to the laundromat. Mrs. Richards did not speak on the
  8 phone with anyone after that point. When the police arrived, the vacuum was
  9 plugged in as if it was about to be used, and Mrs. Richards’s purse, sunglasses, and a
 10 basket full of laundry were in her Suzuki Samurai. This evidence, which was
 11 consistent with the attack and murder occurring much earlier in the evening than
 12 shortly before the midnight hour when Plaintiff arrived home, was deliberately
 13 ignored by the Defendants.
 14          22.    Starting between 9:30 and 10:00 p.m., Eugene Price began calling the
 15 Richards’s residence to try to reach Mrs. Richards. He called multiple times, and no
 16 one answered the phone until close to midnight, when Plaintiff picked up the phone.
 17 This evidence, which was consistent with the attack and murder occurring much
 18 earlier in the evening than shortly before the midnight hour when Plaintiff arrived
 19 home, was deliberately ignored by the Defendants.
 20          23.    In an effort to prove that it was possible for Plaintiff to commit the
 21 murder and show that he arrived home as far as possible in advance of his 911 call,
 22 Defendant John Navarro, one of the SBSD Detectives investigating the murder,
 23 purportedly conducted a test drive of the distance between Schuller Manufacturing
 24 and Plaintiff’s residence, which was approximately forty-five (45) miles including a
 25 stretch on the 15 freeway. Defendant Navarro started at 11:03 p.m. from the
 26 clocking-out location and left the Schuller Manufacturing premises at 11:06 p.m. He
 27 reported that it took forty-one (41) minutes to drive the distance between Plaintiff’s
 28 employment and residence and claimed to have driven at the speed of traffic on the

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  1 15, between sixty (60) and seventy (70) miles per hour, arriving at 11:47 p.m. The
  2 speed limit on the 15 freeway at that time was fifteen (55) miles per hour.
  3          24.    Thereafter, Defense investigator Christian Filipiak drove the same route
  4 three times, at different freeway speeds on cruise control. At sixty (60) miles per
  5 hour, the drive took fifty-two (52) minutes; at sixty-five (65) miles per hour, it took
  6 forty-eight (48) minutes; at seventy (70) miles per hour, it took forty-four (44)
  7 minutes. Defendant Navarro’s purported test drive, at sixty to seventy miles per
  8 hour, was therefore three minutes shorter than the amount of time it took Mr.
  9 Filipiak to make the drive going seventy miles per hour. In fact, Defendant Navarro
 10 was driving as fast as possible in an attempt to manufacture false evidence that
 11 Plaintiff was home for a greater window of time prior to calling 911 and therefore
 12 had a larger window of opportunity to commit the murder. Defendant Navarro’s
 13 intentional speeding, fundamentally altering the nature of his “test” was not
 14 disclosed in his report. In addition, Defendant Navarro falsely reported that he drove
 15 to Plaintiff’s residence, when he in fact drove to the bottom of the rough,
 16 unimproved dirt road that led to Plaintiff’s residence. Even using Navarro’s time-
 17 distance test based on speeding and false reporting of the end point, Plaintiff would
 18 have arrived home no more than eleven (11) minutes before calling 911, and he
 19 likely arrived home even later, within a few minutes of calling 911 – just enough
 20 time to discover his murdered wife and pick up the phone when it rang.
 21          25.    SBSD officers did not respond to the first 911 call for over 30 minutes,
 22 leaving Plaintiff alone with his dead wife. Plaintiff called 911 two more times after
 23 the first call, at 12:06 a.m. and 12:33 a.m. When Defendant Nourse, a SBSD
 24 Deputy, eventually arrived, he was the only police officer on the scene for several
 25 hours. The homicide investigators, SBSD Detectives Norman Parent, Tom Bradford,
 26 and John Navarro (“Defendant Detectives”), did not arrive until approximately 3:00
 27 a.m., and they, along with Defendant criminalist Daniel Gregonis who also reported
 28 to the crime scene, decided not to process the crime scene or conduct any crime

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  1 scene investigation until after 6:00 a.m., despite the manifest importance of
  2 processing any crime scene as quickly as possible and despite the known
  3 significance of the time of death in this case, as Plaintiff had reported both in the
  4 911 call and to Defendant Nourse that he arrived home within minutes of finding
  5 Mrs. Richards’s body and calling 911. This information was relayed to Defendant
  6 Detectives and Defendant Gregonis when they arrived at the crime scene.
  7          26.    Although the coroner was notified at approximately 1:30 a.m., a
  8 deliberate decision was made by Defendant Detectives and Defendant Gregonis not
  9 to call him to the scene. Ultimately, he did not arrive to the scene until after 10:30
 10 a.m., at which point it was too late to conduct critical time-of-death investigation.
 11 Although Defendant Nourse later claimed, falsely, to have examined the body and
 12 made certain observations, e.g., regarding temperature and rigor mortis, Defendant
 13 Detectives made a deliberate decision to forgo confirmation of Defendant Nourse’s
 14 observations when they arrived to the crime scene. None of the Defendant
 15 Detectives personally touched or examined the victim, and none of them called the
 16 coroner to the scene or took any steps to call the coroner to the scene. As a result, no
 17 liver temperature was taken and no qualified person conducted an examination of
 18 the victim. Defendant Detectives have claimed that their decision was the result of a
 19 policy and/or practice of the SBSD and San Bernardino County Coroner’s Office
 20 and that it was standard SBSD practice to prohibit the coroner from examining a
 21 body for hours until after the conclusion crime scene investigation.
 22          27.    Detectives Parent, Bradford, and Navarro investigated the murder as a
 23 team, meaning that each one was assigned to investigate the murder, was integrally
 24 involved in the murder investigation, and was responsible for ensuring that the
 25 investigation was conducted in such a way as to not violate the constitutional rights
 26 of the accused. At that time, SBSD homicide division had three “teams” of homicide
 27 investigators and used a team system for homicide investigations, rather than a
 28 partner system. The Defendant Detectives had adjoining desks in the homicide

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  1 division office, shared information, and closely collaborated on investigations. The
  2 team held daily “Round Pound” meetings in the morning to discuss and analyze
  3 cases, report on the investigation activities that had been performed by each team
  4 member, and plan and assign further investigation activities. Investigation decisions
  5 were made collectively by the team.
  6          28.    Defendant Detectives, Defendant Nourse, and Defendant Gregonis
  7 immediately focused their suspicion on Plaintiff without any basis for doing so aside
  8 from the absence of any other immediate suspects. Defendant Detectives made up
  9 their minds about Plaintiff’s guilt on the first night of the investigation and
 10 considered him their prime suspect. This unjustified focus on Plaintiff caused these
 11 Defendants to draw unfounded conclusions, falsify evidence, taint the investigation,
 12 and otherwise recklessly conduct the investigation in a way that destroyed and
 13 suppressed exculpatory evidence.
 14          29.    When Deputy Nourse arrived at the property, he spoke with Plaintiff,
 15 recording a portion of their conversation. He also observed Mrs. Richards’s body
 16 and the crime scene. As a result of his observations, Deputy Nourse radioed
 17 dispatch, notifying the watch commander and homicide. Deputy Nourse remained at
 18 the scene until the following morning. Thereafter, he wrote several reports regarding
 19 the homicide. The reports written by Deputy Nourse regarding his involvement in
 20 the investigation contain false statements, including, inter alia, that the sky was very
 21 cloudy and overcast such that there was very little if any moonlight; that Mrs.
 22 Richards “did not appear to have been dead for very long;” that Mrs. Richards’s
 23 body was neither warm nor cold; that there were “no signs of lividity;” that there
 24 were “no signs of any rigor mortis;” that the “body was still very soft and pliable;”
 25 and that “a lot of blood was still very damp and even wet in spots.” In fact, Deputy
 26 Nourse was not qualified to make the referenced observations about Mrs. Richards’s
 27 body and knew he was not so qualified. Further, Deputy Nourse did not conduct a
 28 sufficient examination of Mrs. Richards’s body to reach those conclusions, even if

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  1 he were qualified.
  2          30.    Although Deputy Nourse was the only officer on the scene and
  3 homicide detectives did not arrive for several hours, Deputy Nourse did not conduct
  4 time-sensitive investigation either of his own initiative or at the request of homicide
  5 detectives.
  6          31.    When Deputy Nourse ultimately testified, he repeated the false
  7 statements in his police report and bolstered them with false testimony regarding his
  8 background and experience. Deputy Nourse claimed that he was trained as an
  9 Emergency Medical Technician (EMT) in the Air Force and that he had responded
 10 to a plane crash in Alaska that involved numerous victims. This testimony was
 11 essential to Deputy Nourse’s claims regarding the state of Mrs. Richards’s body
 12 when he saw it and opinion that she had died recently. Thus, Deputy Nourse
 13 fabricated his experience to make himself seem more credible when delivering the
 14 prosecution’s key false evidence regarding time of death.
 15          32.    When they arrived at the crime scene, Defendant Detectives and
 16 Defendant Gregonis made the decision to defer any investigation or crime scene
 17 processing until daylight, after 6:00 a.m. Defendants Parent and Gregonis led the
 18 crime scene investigation, while Defendants Bradford and Navarro took Plaintiff to
 19 a local station for interrogation. As a result of the decision to defer crime scene
 20 processing, these Defendants failed to collect and/or document exculpatory evidence
 21 that was instead destroyed due to the passage of time, including: photographs
 22 documenting the crime scene as it appeared when Deputy Nourse arrived;
 23 processing of Mrs. Richards’s body to determine time of death, including taking her
 24 temperature and conducting a physical examination; feeling the engine of Plaintiff’s
 25 vehicle to corroborate his time of arrival; feeling the generator to determine if it had
 26 been in use that evening (it would have been unlikely for Mrs. Richards to be at the
 27 property without lighting until the time Plaintiff returned home from work); etc.
 28 These Defendants also failed to secure the crime scene, allowing cars, people, and

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  1 dogs to disturb the evidence. For example, cars obliterated tire tracks on the road
  2 leading to the Richards residence, investigators walked all over the crime scene area,
  3 and dogs partially burried Mrs. Richards’s head with dirt. As a result, Defendant
  4 Parent admitted that he had no idea what happened up there at the crime scene.
  5 Defendants Parent, Bradford, Navarro, and Gregonis were all personally involved in
  6 purportedly searching the area around the crime scene for evidence, including
  7 footprints and tire tracks. Despite the obvious disturbance of the crime scene,
  8 Defendant Detectives falsely claimed that they thoroughly searched the area and that
  9 there was an absence of footprints and tire tracks indicating that there were no third-
 10 parties on the property on the night of the murder.
 11          33.    From the beginning, Defendant Detectives, Defendant Nourse, and
 12 Defendant Gregonis sought evidence of Plaintiff’s guilt, and the investigation and
 13 ultimate prosecution focused solely on Plaintiff without consideration of glaring
 14 inconsistencies in the evidence they presented. This tunnel vision resulted in a
 15 reckless investigation and failure to investigate the murder and identify the true
 16 perpetrator.
 17          34.    Plaintiff had informed the Defendants that there was no power at all in
 18 the motorhome and that even the interior lights would not turn on. Because of the
 19 size of the motorhome’s battery, it would have been impossible for the battery to
 20 have run down and died completely to the point that the interior lights would not
 21 work. This indicates that the battery was not dead, but that it had been removed /
 22 stolen, presumably by the real perpetrators. Yet Defendant Detectives, Defendant
 23 Nourse, and Defendant Gregonis did not investigate or document the whereabouts of
 24 the battery and disposed of the motorhome before the defense had an opportunity to
 25 examine it.
 26          35.    Other evidence was never collected, despite its obvious exculpatory
 27 value. Defendant Detectives and Defendant Gregonis failed to fingerprint the
 28 vehicles, anywhere inside or outside the home, the shed, or two smooth fist sized

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  1 rocks that had clearly been used to strike the victim. Defendant Detectives (Parent
  2 and Navarro who attended the autopsy and Bradford who was informed of the
  3 autopsy) failed to direct that the purported “bite mark” found on Mrs. Richards be
  4 swabbed in order to test for DNA from the biter’s saliva. Defendants Bradford and
  5 Navarro failed to collect scrapings from underneath Plaintiff’s fingernails on the
  6 morning of August 11, 1993, which would have confirmed that he did not have any
  7 tissue, fibers, or hair from the victim. Defendant Detectives claimed that there was
  8 no evidence of any other person at the crime scene based on footprints and tire
  9 tracks, yet disregarded evidence that third parties had, in fact, been on the property
 10 without leaving such evidence or without Defendants having documented the
 11 evidence. When confronted with this information, Defendants were forced to change
 12 their testimony regarding the scope of their search for prints and tracks.
 13          36.    Defendant Detectives also failed to pursue possible alternative suspect
 14 evidence, including evidence that an unknown person in a red vehicle drove towards
 15 the property at approximately 7:00 p.m., which evidence was lost or destroyed. In
 16 addition, Defendant Detectives interviewed Eugene Price, a key alternative suspect,
 17 on the morning after the murder, but failed to conduct any investigation of his alibi
 18 until almost a year later. Even then, the investigation was limited to brief interviews
 19 with two family members and did not include interviews of uninvolved third parties
 20 who could have corroborated or refuted Mr. Price’s alibi or the collection of
 21 documents that would have corroborated or refuted the alibi. In the original
 22 interview of Eugene Price, Defendant Detectives did not photograph or document
 23 Mr. Price’s appearance or a bandaged injury on his hand. Defendant Detectives did
 24 not investigate inconsistencies in Mr. Price’s statements or his efforts to implicate
 25 Plaintiff in the murder.
 26          37.    Detectives Parent, Bradford, and Navarro, individually and collectively,
 27 interviewed a number of witnesses during the investigation. Defendant Detectives
 28 discussed these interviews and made collective decisions regarding what leads to

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  1 pursue. Although Defendant Detectives had access to recording devices, including
  2 portable recording devices and telephone recording devices, and used these devices
  3 to record interviews with witnesses who provided negative information about
  4 Plaintiff, many interviews that contained exculpatory information or potentially
  5 exculpatory information were not recorded. Defendant Detectives failed to ask
  6 questions to elicit exculpatory information, failed to record exculpatory information
  7 provided during interviews, and failed to follow up on leads that might result in the
  8 discovery and preservation of exculpatory information.
  9          38.    These acts and failures to act demonstrate that Defendant Detectives,
 10 Defendant Nourse, and Defendant Gregonis, with deliberate indifference to and
 11 reckless disregard for Plaintiff’s rights and the truth, failed to investigate the murder
 12 and failed to collect and preserve significant evidence that could have exculpated
 13 Plaintiff.
 14          39.    During their interrogation of Plaintiff on the morning after the murder,
 15 Defendants Bradford and Navarro took pictures of Plaintiff, including his hands, and
 16 collected all the clothes that he was wearing on the night his wife was killed. There
 17 were no cuts, abrasions, or wounds on Plaintiff that would have been consistent with
 18 the obvious struggle between Mrs. Richards and her attacker. Defendant Detectives
 19 ignored this exculpatory evidence and failed to take finger scrapings which would
 20 have further demonstrated that Plaintiff was not involved in any violent struggle.
 21          40.    Defendants Parent and Navarro attended the autopsy of Mrs. Richards.
 22 During the autopsy, scrapings were done of Mrs. Richards’s fingernails and no
 23 observations were made regarding any fiber located under any nail. The scrapings
 24 included a large amount of soil and blood, one tri-lobule synthetic fiber, one dark-
 25 blue wool fiber, one dark hair, and one blond hair. The scrapings included a light
 26 blond hair that was approximately two centimeters long with a round tip telogen
 27 root. Subsequent DNA testing established that this was a human hair belonging to
 28 someone other than Plaintiff or Mrs. Richards.

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  1          41.    Two of Mrs. Richards’s fingernails were broken. The fingers with the
  2 broken fingernails were severed at the end of the autopsy and delivered to
  3 Defendant Gregonis, who matched the fingers to broken fingernails found at the
  4 scene. Several weeks after the autopsy, after Defendants had failed to find any
  5 meaningful evidence of Plaintiff’s guilt, and after Plaintiff’s blue shirt was in his
  6 custody, Defendant Gregonis purportedly discovered a tuft of blue fibers lodged in
  7 one of Mrs. Richards’s broken fingernails. This tuft of blue fibers was not observed
  8 by Dr. Sheridan, the medical examiner who conducted the autopsy, either during the
  9 course of the autopsy or when he scraped the fingernails for trace evidence. It also
 10 was not observed by Defendants Bradford and Navarro who attended the autopsy. A
 11 comparison of photographs taken during the autopsy with stills from video recorded
 12 by Mr. Gregonis to document the blue fiber show that there were no blue fibers
 13 lodged in Mrs. Richards’s fingernail and no visible crack in the fingernail before the
 14 fingers were severed and delivered to Mr. Gregonis. In addition, at around the same
 15 time that Defendant Gregonis purportedly found the tuft of fibers, he cut a sample of
 16 Plaintiff’s shirt, which was later discarded, contrary to standard protocol for the
 17 handling of evidence.
 18          42.    Defendant Gregonis reported, and later testified, that the blue fibers
 19 that he claimed to have found under Mrs. Richards’s fingernail were
 20 indistinguishable from the fabric of Mr. Richards’s shirt. The only explanation for
 21 the post-autopsy appearance of the blue fibers is that they were planted by one or
 22 more of the named Defendants who intentionally fabricated the evidence in a
 23 successful attempt to secure Plaintiff’s conviction.
 24          43.    Defendant Gregonis also provided blood splatter analysis to the
 25 prosecution, in which he claimed both that the minimal blood stains on Plaintiff’s
 26 clothing were consistent with medium energy splatter that would have occurred
 27 when Mrs. Richards was killed and that the general absence of blood on Plaintiff’s
 28 clothing was not inconsistent with the theory that he was the murderer despite the

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  1 blunt-force injuries to Mrs. Richards and the extensive bleeding that occurred from
  2 those injuries. Defendant Gregonis further asserted that the minimal blood on
  3 Plaintiff’s clothing was inconsistent with Plaintiff’s statement that he had cradled
  4 the victim. Defendant Gregonis based his testimony, in part, on an amateur and
  5 unreliable demonstration involving a homemade dummy filled with paint in which
  6 Defendant Bradford participated. In rendering his blood splatter analysis, Defendant
  7 Gregonis lacked any scientific or forensic basis for his conclusions, which were
  8 made with deliberate indifference to or reckless disregard for Plaintiff’s rights and
  9 the truth and which were fabricated for the purpose of securing a conviction of
 10 Plaintiff regardless of the truth.
 11          44.    This is not the first case where Mr. Gregonis gave false testimony. In at
 12 least two prior cases, Mr. Gregonis gave testimony regarding forensic evidence that
 13 was directly contradicted by his own notes and reports. In each instance, the effect
 14 of Mr. Gregonis’s testimony was to make the evidence seem more inculpatory than
 15 was supported by his own forensic analysis. No instances of prior false or incorrect
 16 testimony by Mr. Gregonis were disclosed to Plaintiff during his criminal
 17 prosecution, in violation of Brady v. Maryland, 373 U.S. 83 (1963).
 18          45.    Plaintiff was arrested on September 3, 1993 and taken into custody. He
 19 was held in custody pending trial and therefore remained in custody from September
 20 3, 1993 until the California Supreme Court ultimately granted his petition for writ of
 21 habeas corpus in 2016.
 22          46.    After Plaintiff was arrested and before trial, the Defendants authorized
 23 and/or carried out the destruction of the crime scene, by removing the motorhome
 24 and all other structures, materials, and items from the property. The motorhome and
 25 other crime scene property contained evidence of the murder that was material and
 26 exculpatory and potentially material and exculpatory, including possible
 27 fingerprints, blood, DNA evidence, circumstantial evidence, evidence of missing
 28 property, etc. The destruction/disposal of the motorhome and other crime scene

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  1 property prevented Plaintiff’s defense attorneys from examining the evidence, for
  2 the purpose of both contesting the purported inculpatory evidence presented by the
  3 prosecution and developing exculpatory evidence. Defendants destroyed this
  4 evidence with full knowledge of its relevance to Plaintiff’s defense with deliberate
  5 indifference to and reckless disregard for Plaintiff’s rights and the truth.
  6          47.    Dr. Norman Sperber, a forensic odontologist, was retained by the
  7 County of San Bernardino in advance of Plaintiff’s final trial to conduct a forensic
  8 examination and analysis of a lesion on the victim that was suspected to be a
  9 bitemark. Although not permanently employed by the County of San Bernardino,
 10 Defendant Sperber was the chief forensic dentist for the Counties of Imperial and
 11 San Diego and was retained by the County of San Bernardino to perform forensic
 12 examination in People v. Richards, because no one on staff in the County of San
 13 Bernardino was available to perform the forensic examination and analysis. Dr.
 14 Sperber had worked for San Bernardino County agencies on several prior cases. In
 15 this capacity, he was acting under the color of law as an agent of the County of San
 16 Bernardino.
 17          48.    Dr. Sperber worked with other SBSD defendants in an investigatory
 18 capacity in conducting his forensic examination and analysis. He initially consulted
 19 with Detective Parent, after which, Detective Parent provided photographs of the
 20 lesion and assisted Defendant Sperber in making arrangements for him to examine
 21 and perform a molding of Plaintiff’s teeth.
 22          49.    Based on the photograph he was given and the mold of Plaintiff’s teeth,
 23 Dr. Sperber prepared a written report stating his forensic analysis and conclusions.
 24 In the report, Dr. Sperber stated that the lesion was a human bite mark; that despite
 25 distortions in the photographs, they were susceptible to odontological analysis; that
 26 Plaintiff had “unique” dentition with respect to an under-erupted tooth; that the
 27 under-erupted tooth matched up with a gap in the purported bitemark on the victim;
 28 and that Plaintiff’s other teeth were “consistent with” the purported bitemark.

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  1 Absent this report, and the analysis and conclusions stated in the report, Defendant
  2 Sperber would not have been called to testify for the prosecution.
  3          50.    Defendant Sperber testified during the prosecution’s case in chief,
  4 repeating the false forensic conclusions that were stated in his earlier report: he
  5 stated that the photograph provided a sufficient basis for comparative analysis, that
  6 the lesion in the photograph of the victim was a human bite mark, that it reflected a
  7 distinctive abnormality that was consistent with Plaintiff’s dental anatomy, and that
  8 the abnormality was shared by “one or two or [fewer]” persons out of a hundred
  9 people. As the California Supreme Court later ruled, based in part on Dr. Sperber’s
 10 recantation, this evidence that was in both the report and in his testimony was false.
 11 If the lesion was even a bite mark, it did not match Plaintiff’s teeth. The false
 12 evidence generated by Dr. Sperber in both his report and repeated in his testimony
 13 contributed to Plaintiff’s wrongful conviction and was the basis for the California
 14 Supreme Court’s decision to vacate the conviction.
 15          51.    During Plaintiff’s habeas proceedings, Plaintiff presented evidence that,
 16 with the angular distortion corrected, the image showed clear and unambiguous
 17 discrepancies between the lesion and Plaintiff’s dentition. At the habeas
 18 proceedings, Dr. Sperber recanted his previous testimony regarding the lesion on
 19 Mrs. Richards’s hand. Contrary to his report and trial testimony, he testified that
 20 Plaintiff’s teeth were not consistent with the lesion and that Plaintiff was essentially
 21 “ruled out.” Dr. Sperber further acknowledged that the statistics he gave in his trial
 22 testimony were not based on science or supported by any data and that it was
 23 inappropriate for him to have given such testimony. He admitted that he had just
 24 been “guessing” about the rarity of Plaintiff’s undererupted tooth.
 25          52.    At the time that Defendant Sperber submitted his forensic report, he
 26 was aware that his analysis and conclusions were unsupported by reliable scientific
 27 principles and that his methodology fell below the relevant scientific standards at the
 28 time for forensic odontology. In particular, in his report, Dr. Sperber acknowledged

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  1 that he was aware of the visual distortion in the photograph. Dr. Sperber, who had
  2 taught classes and written articles regarding the proper photographing of bite marks,
  3 knew from his research, training, and experience that the angular distortion in the
  4 photograph of Mrs. Richards rendered any direct comparison with a mold of
  5 Plaintiff’s teeth impossible, and made any match between the mold of Plaintiff’s
  6 teeth and the distorted photograph meaningless. Dr. Sperber was aware that his
  7 conclusions were based on nothing more than “eyeballing” the evidence and not
  8 based on any testing, measurement, or other reliable criteria. He knew that he was
  9 presenting his unfounded “guesses” under the guise of expert opinion. In addition,
 10 Dr. Sperber knew that another respected odontologist had reached the conclusion
 11 that the photograph was not of sufficient quality to make a comparison; the same
 12 conclusion ultimately admitted by Dr. Sperber under oath during the habeas
 13 proceedings but denied in his report and original trial testimony. Dr. Sperber,
 14 despite this knowledge, stated in his report (and later testified) that a comparison
 15 could be made and that the lesion was consistent with Plaintiff’s dentition. Dr.
 16 Sperber’s false conclusions regarding the bite mark evidence in his report were
 17 tendered to the prosecution with the knowledge that they were scientifically baseless
 18 and false and with deliberate indifference to and reckless disregard for Plaintiff’s
 19 rights and the truth.
 20          53.    At the time he was retained to provide forensic examination and
 21 analysis, Dr. Sperber was aware that there had been two mistrials, i.e., that the
 22 available evidence was insufficient to convict Mr. Richards, and that the police and
 23 prosecution were searching for additional evidence that would convict him. As part
 24 of the law enforcement team, he accepted the assertion that Plaintiff was guilty and
 25 thought of himself as the hero who would save the prosecution and get the long-
 26 sought after conviction, not as an impartial expert. Dr. Sperber admitted as much
 27 after the habeas proceedings: “I said, well, gee, they tried this guy three times and
 28 I’m going to be the hero in this case and show that it is his mouth.” Dr. Sperber’s

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  1 desire to “be the hero” caused him to falsely and recklessly implicate Mr. Richards
  2 in a crime for which he was innocent. Dr. Sperber’s false report and false testimony
  3 were deliberately intended to mislead the jury and secure a conviction regardless of
  4 the otherwise insufficient evidence of guilt.
  5          54.    Upon information and belief, Defendants failed to disclose various
  6 items of material exculpatory evidence to the prosecution and the defense including,
  7 but not limited to, photographs, forensic analysis, and impeachment information in
  8 violation of Brady v. Maryland, 373 U.S. 83 (1963).
  9          55.    It took four attempts to wrongfully convict Plaintiff. Plaintiff’s first
 10 trial resulted in a hung jury. In his second trial, the court recused itself and declared
 11 a mistrial. The third trial ended in a second hung jury. At the end of the fourth trial,
 12 the jury deliberated, announced that they were deadlocked, asked for a further
 13 instruction to clarify the meaning of reasonable doubt, were not given a clarification,
 14 and ultimately convicted Plaintiff. Judging by this case history, the prosecution’s
 15 evidence (which included false evidence and excluded exculpatory evidence) was
 16 the bare minimum necessary to obtain a conviction. Had any of the false evidence
 17 presented to the juries been revealed as false, or omitted, or had additional
 18 exculpatory evidence been presented, it likely would have changed the outcome of
 19 the trials.
 20          56.    Plaintiff was sentenced to twenty-five years to life in prison.
 21          57.    While incarcerated, Plaintiff sought and obtained post-conviction DNA
 22 testing of the evidence from the crime scene. The testing revealed conclusive
 23 evidence of third-party DNA at the crime scene.
 24          58.    A 12 x 12 x 2 inch stepping stone with blood was collected from the
 25 crime scene by the police. According to the prosecution’s theory of the case, the
 26 stepping stone was one of the blunt objects that was used to murder Mrs. Richards.
 27 Mr. Gregonis opined that there were three areas on the stepping stone that would be
 28 likely locations for the murderer’s DNA. STR DNA testing by the Department of

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  1 Justice in 2006 established that two of the three areas identified by Mr. Gregonis
  2 contained a mixture of Mrs. Richard’s DNA and third-party male DNA, not
  3 belonging to Plaintiff.
  4          59.    Mitochondrial DNA testing of the blond hair recovered from amongst
  5 the blood and debris under Mrs. Richards’s fingernails established that the hair
  6 belonged to neither Mrs. Richards nor Plaintiff but came from an unknown third-
  7 party.
  8          60.    Based on the results of the DNA testing, as well as evidence that the
  9 bite mark and blue fiber evidence presented at trial was false, Plaintiff filed a
 10 petition for writ of habeas corpus on December 5, 2007. An evidentiary hearing was
 11 held in 2009, at the end of which, on August 10, 2009, the San Bernardino Superior
 12 Court, Judge Brian McCarville presiding, granted the petition on the basis of false
 13 evidence and actual innocence.
 14          61.    The San Bernardino County District Attorney’s Office appealed the
 15 Superior Court’s ruling, which was reversed by the California Court of Appeal on
 16 November 19, 2010. On December 3, 2012, the Court of Appeal’s ruling was
 17 affirmed by the California Supreme Court.
 18          62.    In response to the California Supreme Court’s ruling with respect to the
 19 bite mark evidence, the California legislature amended the statute regarding false
 20 evidence as a basis for habeas relief. The amended statute permits persons to obtain
 21 habeas relief where, as in Plaintiff’s case, expert opinion testimony used to convict
 22 the person is later invalidated or repudiated. The amendment, which was intended
 23 “to keep innocent people out of prison,” provided grounds for Plaintiff to refile his
 24 petition for writ of habeas corpus. On May 26, 2016, the California Supreme Court
 25 reversed Plaintiff’s conviction on the ground that false evidence had been presented
 26 at Plaintiff’s trial.
 27          63.    After initially refiling charges, and following a vindictive prosecution
 28 motion by the defense, the San Bernardino District Attorney’s Office declined to re-

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  1 prosecute Plaintiff. On June 21, 2016, Plaintiff was finally released from custody.
  2 VI.      PARTICIPATION, STATE OF MIND, AND DAMAGES
  3          64.    All Defendants acted illegally under color of law.
  4          65.    Each individual Defendant participated in the violations alleged herein,
  5 and/or directed the violations alleged herein, and/or knew or should have known of
  6 the violations alleged herein and failed to act to prevent them. Each Defendant
  7 ratified, approved or acquiesced in the violations alleged herein.
  8          66.    As joint actors with joint obligations, each individual Defendant was
  9 and is responsible for the failures and omissions of the other.
 10          67.    Each individual Defendant acted individually and in concert with the
 11 other Defendants and others not named in violating Plaintiff’s rights.
 12          68.    Each Defendant acted deliberately, purposefully, knowingly and/or
 13 with deliberate indifference to, or reckless disregard for an accused’s rights or the
 14 truth in engaging in the conduct alleged herein.
 15          69.    As a direct and proximate result of the described acts, omissions,
 16 customs, practices, policies, and decisions of the Defendants, Plaintiff was
 17 wrongfully arrested, convicted, and incarcerated for over twenty-two years.
 18          70.    As a direct and proximate result of his wrongful arrest, conviction, and
 19 incarceration, Plaintiff has lost his liberty and the quality and enjoyment of his life
 20 both during his period of incarceration and thereafter.
 21          71.    As a direct and proximate result of his wrongful arrest, conviction, and
 22 incarceration, Plaintiff has suffered, continues to suffer, and is likely to suffer in the
 23 future, extreme and severe mental anguish, mental and physical pain and injury,
 24 fright, nervousness, anxiety, shock, humiliation, indignity, embarrassment, harm to
 25 reputation, and apprehension. For such injuries, he has incurred and will continue to
 26 incur significant damages.
 27          72.    As a direct and proximate result of his wrongful arrest, conviction, and
 28 incarceration, Plaintiff has lost past and future earnings.

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  1          73.    As a direct and proximate result of his wrongful arrest, conviction, and
  2 incarceration, Plaintiff has been deprived of familial relationships as well as the
  3 society and companionship of friends and family.
  4          74.    While wrongfully incarcerated, Plaintiff was diagnosed with prostate
  5 cancer, for which Plaintiff received deficient and inadequate medical care. The
  6 substandard medical care that Plaintiff received contributed to his pain, suffering,
  7 and mental anguish. It also was a direct and proximate cause of the deterioration of
  8 his physical and medical condition and the recurrence of his cancer. The
  9 mistreatment and non-treatment of Plaintiff’s serious medical condition negatively
 10 impacted his prognosis and chances of survival from an otherwise treatable and
 11 curable form of cancer. That Plaintiff would be deprived of control over his medical
 12 care and that he would receive inadequate medical care were both reasonably
 13 foreseeable results of Plaintiff’s wrongful conviction and Defendants’ acts and
 14 failures to act that caused Plaintiff’s wrongful conviction.
 15          75.    The aforementioned acts and/or omissions of Defendants, and each of
 16 them, was willful, wanton, malicious, oppressive, in bad faith, and done knowingly,
 17 purposefully, and/or with deliberate indifference to and/or reckless disregard for
 18 Plaintiff’s constitutional rights or the truth.
 19                               FIRST CAUSE OF ACTION
 20                 VIOLATION OF CIVIL RIGHTS — 42 U.S.C. § 1983
 21                    (AGAINST ALL INDIVIDUAL DEFENDANTS)
 22          76.    Plaintiff re-alleges and incorporates by reference all foregoing
 23 paragraphs, as well as any subsequent paragraphs contained in the complaint, as
 24 though fully stated herein.
 25          77.    Defendants NOURSE, PARENT, BRADFORD, NAVARRO,
 26 GREGONIS, SPERBER, and DOES 1 through 10, while acting under color of law,
 27 caused Plaintiff to be deprived of rights, privileges, and immunities secured by the
 28 Constitution and laws of the United States, including the Fourth, Fifth, Eighth, and

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  1 Fourteenth Amendments by, inter alia, fabricating evidence, failing to disclose
  2 material exculpatory evidence, destroying exculpatory and potentially exculpatory
  3 evidence, and conducting a reckless investigation into the murder of Pamela
  4 Richards. Defendants’ acts and omissions that caused these violations were done
  5 with deliberate indifference to or in reckless disregard of Plaintiff’s rights and the
  6 truth.
  7          78.    The constitutional source of the violations and obligations asserted
  8 herein is primarily the due process clause of the Fifth and Fourteenth Amendments,
  9 and Plaintiff asserts both procedural and substantive due process violations. To the
 10 extent that the source of Plaintiff’s rights is any constitutional or statutory source
 11 other than due process, this claim is brought on those bases as well.
 12          79.    Defendants, and each of them, conspired and agreed to commit the
 13 above-described unconstitutional deprivations of Plaintiff’s rights and acted in
 14 concert to deprive Plaintiff of his rights to be free from unreasonable seizures, to
 15 due process, to a fair trial, and to be free from groundless criminal prosecutions
 16 based on false evidence.
 17          80.    Defendants, and each of them, engaged in, knew about, or should have
 18 known about the acts and/or omissions that caused the constitutional deprivations
 19 alleged herein and failed to prevent it and/or ratified/approved it and/or acquiesced
 20 to it.
 21          81.    Defendants, and each of them, committed the aforementioned acts and
 22 omissions in bad faith and with knowledge that their conduct violated well-
 23 established law.
 24          82.    As a direct and proximate result of Defendants’ aforementioned acts
 25 and/or omissions, Plaintiff was injured as set forth in earlier paragraphs of this
 26 complaint and is entitled to compensatory damages according to proof.
 27          83.    The aforementioned acts and omissions of Defendants were committed
 28 by each of them knowingly, willfully, maliciously, oppressively, and/or in reckless

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  1 disregard of Plaintiff’s rights. By reason thereof, Plaintiff is entitled to punitive and
  2 exemplary damages from Defendants according to proof.
  3                               SECOND CAUSE OF ACTION
  4          VIOLATION OF CIVIL RIGHTS — 42 U.S.C. § 1983 (MONELL)
  5                             (AGAINST DEFENDANT COUNTY)
  6          84.    Plaintiff re-alleges and incorporates by reference all foregoing
  7 paragraphs, as well as any subsequent paragraphs contained in the complaint, as
  8 though fully stated herein.
  9          85.    Defendant COUNTY and the SBSD, an agency and subdivision of
 10 Defendant COUNTY, possessed the power and authority to adopt policies and
 11 prescribe rules, regulations and practices affecting the operation of the SBSD and
 12 the actions of employees of the SBSD, including customs, policies and/or practices
 13 relating to police tactics, methods, investigations, arrests, evidence, and discovery;
 14 as well as to personnel supervision, performance evaluation, internal investigations,
 15 discipline, records maintenance, and/or retention.
 16          86.    At all relevant times, Defendants NOURSE, PARENT, BRADFORD,
 17 NAVARRO, GREGONIS, SPERBER, and DOES 1 through 10, and each of them,
 18 were employees and/or agents of SBSD and Defendant COUNTY and were under
 19 the direction and control of SBSD and Defendant COUNTY.
 20          87.    Upon information and belief, at all relevant times, SBSD and
 21 Defendant COUNTY, with deliberate indifference to and/or reckless disregard for
 22 the safety, security, and constitutional and statutory rights of Plaintiff and/or the
 23 truth, maintained, enforced, tolerated, ratified, permitted, acquiesced in, and/or
 24 applied unconstitutional polices, practices and/or customs with respect to the
 25 investigation and prosecution of crimes.
 26          88.    Upon information and belief, at all relevant times, SBSD and
 27 Defendant COUNTY, with deliberate indifference to and/or reckless disregard for
 28 the safety, security, and constitutional and statutory rights of Plaintiff and/or the

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  1 truth, failed to institute policies or provide training that would enable peace officers,
  2 agents, and/or employees to handle the usual and recurring situations with which
  3 they must deal and would prevent the kinds of constitutional violations alleged in
  4 this complaint, where the need for such policies and/or training was obvious.
  5          89.    Upon information and belief, Defendant COUNTY had knowledge,
  6 prior to and since August 10, 1993, of repeated allegations and instances of
  7 misconduct by officers, employees, and/or agents of the SBSD in relation to the
  8 investigation and prosecution of criminal offenses, including fabrication of
  9 evidence, suppression of exculpatory evidence, dishonesty, and abuse of authority.
 10          90.    Upon information and belief, Defendant COUNTY maintained and
 11 enforced SBSD customs, policies and/or practices of hiring, retaining, training,
 12 assigning, supervising, and failing to discipline officers, supervisors, and other
 13 employees and/or agents who have a propensity for violating the due process rights
 14 of the accused, dishonesty, and abuse of authority, among other failures in their
 15 duties.
 16          91.    Upon information and belief, Defendant COUNTY knowingly
 17 maintains and permits sub-rosa customs, policies and/or practices of tolerating,
 18 condoning, and ratifying the occurrence of the kinds of constitutional violations and
 19 wrongs alleged in the within action, by deliberate indifference to widespread police
 20 abuses, failing and refusing to fairly and impartially investigate, discipline, or
 21 prosecute peace officers, employees, and/or agents who engage in due process
 22 violations, dishonesty, and abuse of authority.
 23          92.    Upon information and belief, the unconstitutional customs, policies,
 24 and/or practices of Defendants COUNTY and SBSD include, but are not limited to:
 25 (a) insufficient, incompetent, and biased investigation of allegations of misconduct
 26 by employees; (b) inadequate supervision, evaluation, and discipline of employees
 27 known to have committed misconduct or whose performance caused a risk of
 28 constitutional violations; (c) ineffective and/or inadequate training of peace officers

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  1 with respect to the due process rights of the accused, when the need for such training
  2 was obvious; and (d) the regular failure and refusal to enforce written procedures
  3 with regard to administrative investigations, discipline, and use of force.
  4          93.    The customs, policies, and/or practices of SBSD and Defendant
  5 COUNTY were a moving force behind the constitutional violations alleged by
  6 Plaintiff in the First Cause of Action and the resulting injuries to Plaintiff, entitling
  7 Plaintiff to compensatory damages according to proof.
  8                                  PRAYER FOR RELIEF
  9          WHEREFORE, Plaintiff prays for judgment against Defendants COUNTY,
 10 NOURSE, PARENT, BRADFORD, NAVARRO, GREGONIS, SPERBER, and
 11 DOES 1 through 10, and each of them, and award of damages jointly and severally,
 12 as follows:
 13          1.     General and compensatory damages according to proof;
 14          2.     Special damages according to proof;
 15          3.     Exemplary and punitive damages against each individual Defendant, in
 16                 amounts according to proof;
 17          4.     Costs of litigation;
 18          5.     Reasonable attorneys’ fees and costs permitted by 42 U.S.C. § 1988;
 19          6.     Such other and further relief as the Court may deem just and equitable.
 20                                         Respectfully submitted,
 21
                                            KAYE, McLANE, BEDNARSKI & LITT, LLP
 22
      DATED: October 26, 2018          By: / s / Caitlin S. Weisberg
 23
                                           CAITLIN S. WEISBERG
 24                                        Attorneys for Plaintiff
 25
 26
 27
 28

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  1                                         LAW OFFICES OF WENDY KOEN
  2
      DATED: October 26, 2018         By: / s / Wendy Koen
  3                                       WENDY KOEN
                                          Attorney for Plaintiff
  4
  5                              DEMAND FOR JURY TRIAL
  6          Plaintiff hereby demands a trial by jury on all issues.
  7
  8                                         Respectfully submitted,
  9
                                            KAYE, McLANE, BEDNARSKI & LITT, LLP
 10
 11 DATED: October 26, 2018           By: / s / Caitlin S. Weisberg
                                          CAITLIN S. WEISBERG
 12                                       Attorneys for Plaintiff
 13
                                            LAW OFFICES OF WENDY KOEN
 14
 15 DATED: October 26, 2018           By: / s / Wendy Koen
                                          WENDY KOEN
 16                                       Attorney for Plaintiff
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